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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
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In re:                                                 Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                Debtors.                               Chapter: 11


                      ORDER GRANTING MOTION TO DISALLOW
                           CLAIMS FOR CONTRIBUTION
         The relief set forth on the following page, numbered two (2), is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Granting Motion to Disallow Claims for Contribution



         Upon consideration of the above-captioned debtors’ (the “Debtors”) motion to disallow

contribution claims application of the above-captioned debtors and debtors-in-possession (the

“Motion”),1 any responses or objections thereto, notice of the Motion appearing appropriate, and

for cause shown, it is hereby ORDERED:

         1.      That the Motion is GRANTED.

         2.      That each of the Claims listed on Exhibits “A” through “E” of the Motion are

hereby disallowed for all purposes.




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1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Motion.

                                                  2
